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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MARIA HIDALGO   &   ABUNDIO SANCHEZ,
                                                 20-cv-98 (JGK)
                        Plaintiffs,
                                                 ORDER
           - against -

NEW YORK CITY DEPARTMENT OF
EDUCATION,

                        Defendant.

JOHN G. KOELTL, District Judge:

     The conference scheduled for today was cancelled . The parties

should submit a proposed schedule for the motion and cross - motion

for summary judgment by October 23, 2020.

SO ORDERED.

Dated:     New York, New York
           October 20, 2020


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                                        United States District Judge
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